Case 2:03-cr-20336-.]PI\/| Document 101 Filed 08/29/05 Page 1 of 3 Page|D 143

 

IN THE UNITED sTATEs DISTRICT coURT HEDBY_.% _____ _n.e
FoR THE wEsTERN DISTRICT oF TENNESSEE
wESTERN DIVISION 05 AUG 29 AH 6:1,2
THUM!`£§P:`I."§}OULD
CLEKU.S.B¥STR¥CTCOLHT
UNITED STATES oF AMERICA W;DOFTN,MM

Plaintiff,

v%@;&&’

C'riminal NO.JZ- 30 z§/ép

(60-Day Continuance)

 

 

 

 

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Defendant(s}.

 

C'ONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should
be continued for reasons resulting in the exclusion of time under
the Speedy Trial Act. The case is currently set on the September
2005, criminal rotation calendar, but is now RESET for report at
9:00 a.m. on Fridav, October 28, 2005, with trial to take place
on the November, 2005, rotation calendar with the time excluded
under the Speedy Trial Act through November 18, 2005. Agreed in

open court at report date this 26th day of August, 2005.

Th|e document entered on the docket Sheet in compliance
with Hule 55 end/or 32(b) FRCrP on '

Case 2:03-cr-20336-.]PI\/| Document 101 Filed 08/29/05 Page 2 of 3 Page|D 144

eo oRDERED this 26th day of Auguet, 2005.

.W@Q,@A

PHIPPS MCCALLA
TED STATES DISTRICT JUDGE

   
 

 

Assistant United States Attorney

 

 

 

 

 

   

UNITED `sETATS DISTRICT COURT - WTERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 101 in
case 2:03-CR-20336 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Robert C. Irby

LAW OFFICE OF ROBERT C. IRBY
4345 E. Mallory

1\/1emphis7 TN 38111

David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

